Case 6:21-cv-01071-ADA Document 59-1 Filed 09/09/22 Page 1 of 2




                EXHIBIT A
                      Case 6:21-cv-01071-ADA Document 59-1 Filed 09/09/22 Page 2 of 2



 AO 154 (10/03) Substitution of Attorney


                                           UNITED STATES DISTRICT COURT
                                                                District of

                                                                             CONSENT ORDER GRANTING
                                              Plaintiff (s),                 SUBSTITUTION OF ATTORNEY
                             V.
                                                                             CASE NUMBER:
                                            Defendant (s),

           Notice is hereby given that, subject to approval by the court,                                                                  substitutes
                                                                                                          (Party (s) Name)

                                                                             , State Bar No.                                    as counsel of record in
                            (Name of New Attorney)

place of                                                                                                                                                 .
                                                          (Name of Attorney (s) Withdrawing Appearance)



Contact information for new counsel is as follows:
           Firm Name:
           Address:
           Telephone:                                                                Facsimile
           E-Mail (Optional):

I consent to the above substitution.
Date:
                                                                                                               (Signature of Party (s))

I consent to being substituted.
Date:                 9/6/2022
                                                                                                      (Signature of Former Attorney (s))

I consent to the above substitution.
Date:
                                                                                                            (Signature of New Attorney)



The substitution of attorney is hereby approved and so ORDERED.


Date:
                                                                                                                       Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]
